Case 1:21-cv-02637-RM-KMT Document 1-1 Filed 09/29/21 USDC Colorado Page 1 of 5




                             Campus Administrative Policy
 Policy Title:     COVID-19 Vaccination Requirement and Compliance

 Policy Number: 3012                Functional Area: General Administration


 Effective:                        September 1, 2021
 Date Last Amended/Reviewed:       September 1, 2021
 Date Scheduled for Review:        September 1, 2028
 Supersedes:                       COVID-19 Vaccination Requirement and Compliance June 2,
                                   2021

 Approved by:                      Donald M. Elliman, Jr.
                                   Chancellor, University of Colorado Anschutz Medical Campus

 Prepared by:                       Office of University Counsel

 Reviewing Office:                 Office of the Chancellor of the CU Anschutz Medical Campus
 Responsible Officer:              Executive Vice Chancellor for Administration and Finance |
                                   CFO, University of Colorado Anschutz Medical Campus

 Applies to:                        CU Anschutz Medical Campus


 A.   INTRODUCTION

      The purpose of this policy is to protect the health and safety of the University of Colorado
      Anschutz Medical Campus (“CU Anschutz”) community, including all faculty, staff,
      students, badged affiliates, persons of interest (POIs), visitors, and volunteers
      (“Individuals”) who work or learn on the Anschutz Medical Campus or off campus in
      connection with CU Anschutz programs. This policy, requires all Individuals who currently
      or may in the future access any CU Anschutz facility or participate in any CU Anschutz
      program, or whose employment or academic activities may require in-person interaction
      with other CU Anschutz employees, students, patients, study subjects, or members of the
      public, regardless of location to become fully vaccinated against COVID-19 with a vaccine
      that has been approved by the World Health Organization (“WHO”) as of June 1, 2021,
      subject to limited exceptions and exemptions.1 In addition, this policy requires Individuals
      to receive booster shots for those specific vaccines, as required by the WHO or Centers for

  1
   As of June 1, 2021, the WHO has approved the following COVID-19 vaccines: Pfizer-BioNTech,
  Moderna, Johnson & Johnson, Oxford–AstraZeneca, Sinovac, and Sinopharm.

                                                  1
Case 1:21-cv-02637-RM-KMT Document 1-1 Filed 09/29/21 USDC Colorado Page 2 of 5




      Disease Control.

      Faculty, staff, badged affiliates, and POIs must submit proof of COVID-19 vaccination by
      September 1, 2021. Students must submit proof of COVID-19 vaccination before the start of
      the Fall 2021 semester, which varies by program and may occur prior to September 1, 2021.
      Students who will initially participate in University-related activities remotely will be
      required to submit proof of COVID-19 vaccination before any in-person component of their
      curriculum whether on campus, or at a clinical site or remote location. Individuals who do
      not provide proof of vaccination may be subject to additional safety protocols as described
      more fully below.

 B.   DEFINITIONS

       1.      The term “employees” includes, but is not limited to, all full
               and part -time staff, faculty, post-doctoral fellows, medical
               residents, predoc trainees, and fellows.

       2.      The term “badged affiliates” includes, but is not limited to, any
               individual who has a CU Anschutz badge to access campus
               facilities, whether leased or owned on or off campus, including
               badged contractors and employees at affiliated institutions who
               have a CU Anschutz badge and access campus facilities on a
               regular basis.

       3.      The term “students” includes, but is not limited to, all students,
               including part-time, full-time, degree-seeking, non-degree
               seeking, hybrid (combination of online and in person, either: (i)
               on campus and/or (ii) in clinical settings), visiting students,
               undergraduate, or graduate students enrolled at CU Anschutz.

C.    POLICY STATEMENT

      All Individuals, who are, or may access any University facility or participate in any
      University program, or whose employment or academic activities may require in-person
      interaction with other CU Anschutz employees, students, patients, study subjects or
      members of the public, including external conferences, regardless of location, must no later
      than September 1, 2021, either (i) be fully vaccinated against COVID -19, or (ii) receive an
      approved exemption as further described below. Individuals are required to comply with
      this Policy, regardless of the Individual’s frequency on campus or interaction with other
      employees, students, patients, or others. For example, even a one-time visit or interaction
      requires compliance.

      Positions or programs that require on-campus presence or interaction with others will not be
      allowed to be performed remotely in order to avoid compliance with this Policy. However,
      Individuals who hold positions that have been previously approved by a supervisor as being
      100% remote without any current or future presence at any CU Anschutz facility (owned or
      leased) or participation in any Anschutz program, or whose employment or academic
      activities do not require in-person interaction with other CU Anschutz employees, students,
                                                    2
Case 1:21-cv-02637-RM-KMT Document 1-1 Filed 09/29/21 USDC Colorado Page 3 of 5




     patients or study subjects of the Anschutz Medical campus, regardless of location, are not
     required to be comply with this policy.

       1.     Vaccine Verification

              All Individuals must submit verification of COVID-19 vaccination. Employees,
              badged affiliates, POIs, and volunteers must submit verification of their COVID-
              19 vaccination via the campus verification system. Visitors will not be required to
              submit verification via the campus verification system, but will be required to
              submit verification to the department or unit hosting their visit. It is the
              responsibility of the unit who is hosting the visitor to ensure the visitor’s
              compliance with this Policy. Students must submit proof of COVID-19
              vaccination to their individual Schools/College/programs in the same manner that
              they would submit proof of other required vaccinations.

              An Individual’s failure to provide valid proof of vaccination or to submit an
              exemption pursuant to Section 2 may be disciplined, up to and including
              termination.

       2.     Exemptions

              Individuals may be exempted from the requirement to receive a COVID-19
              vaccine for medical or religious reasons. Supervisors and unit heads will be made
              aware that an Individual has received an exemption, but will not be aware of the
              reason for the exemption.

              A medical exemption may be submitted if vaccination is medically
              contraindicated due to other medical conditions or due to a physical condition that
              would cause vaccination to endanger an individual’s life or health. A Physician
              (MD, DO), Advanced Practice Nurse (APN), or Physician Assistant must sign the
              medical exemption form and attest to the accuracy of the information contained
              therein. Employees, badged affiliates, visitors, and volunteers must submit their
              medical exemption forms via the approved campus database, which is a campus-
              wide platform. Students must submit their medical exemption forms to their
              individual Schools/College/programs in the same manner that they would submit
              exemptions for other required vaccinations.

              A religious exemption may be submitted based on a person’s religious belief
              whose teachings are opposed to all immunizations. Employees, badged
              affiliates, POIs, and volunteers must submit their religious exemption form via
              the campus verification system. Students must submit religious exemption
              forms to their individual Schools/College/program in the same manner that they
              would submit exemptions for other required vaccinations.

              Individuals who are granted medical or religious exemptions will be required to
              adhere to additional safety protocols, including, but not limited to wearing
              masks, social distancing, staying home when sick, quarantining in accordance
              with current Centers for Disease Control (“CDC”) guidance, submitting daily
                                                 3
Case 1:21-cv-02637-RM-KMT Document 1-1 Filed 09/29/21 USDC Colorado Page 4 of 5




                  attestations, and undergoing frequent asymptomatic testing.2

                  Unvaccinated Employees, Badged Affiliates, or POIs who fail to complete the
                  COVID -19 verification form or comply with required safety protocols for
                  exempted individuals will be referred to their Supervisor for potential action
                  and/or discipline, up to and including termination. Supervisors will be required
                  to provide Campus Human Resources with information regarding such action
                  and/or discipline with respect to unvaccinated employees.

                  Unvaccinated students who fail to submit verification of vaccination or comply
                  with required safety protocols may be referred to their respective
                  School/College/program for potential action and/or discipline, up to and including
                  termination from the program.

                  Schools/College/programs will be required to provide the Associate Vice
                  Chancellor for Student Affairs at CU Anschutz with information regarding such
                  action and/or discipline.

                  Individuals who are not vaccinated and do not have an approved medical or
                  religious exemption, will not be allowed to access University facilities or
                  programs in person. Individuals who previously tested positive for COVID-19
                  will not be granted an exemption unless they obtain a note from a physician or
                  health care provider that indicates vaccination would endangers the individual’s
                  life or health.

                  The COVID-19 pandemic and its impact on campus operations is rapidly
                  evolving.

                  Individuals are encouraged to consult the COVID-19 website referenced in
                  Section D(4) below on a regular basis for up-to-date information regarding CU
                  Anschutz’ COVID-19-related policies, procedures, and guidance.

         3.       Reasonable Accommodations

                  CU Anschutz recognizes that some medical conditions may be protected under
                  the Americans with Disabilities Act and amendments (“ADA”), entitling
                  students and employees to request reasonable accommodations.

                  If you are a student at the CU Anschutz Medical Campus and need to make an
                  application for reasonable accommodations or need information regarding the
                  ADA, contact the Office of Disability Access and Inclusion at (303) 724-5640
                  or disabilityresources@cuanschutz.edu.


  2
   Currently, Individuals who are required to submit to ongoing asymptomatic testing will be required to do so on
  a weekly basis, but the frequency of testing is subject to change at CU Anschutz’ discretion based on evolving
  medical and scientific recommendations.

                                                           4
Case 1:21-cv-02637-RM-KMT Document 1-1 Filed 09/29/21 USDC Colorado Page 5 of 5




                  If you are an employee and need to make an application for reasonable
                  accommodations or need information regarding the ADA, contact the ADA
                  Coordinator at (303) 315-2700 or HR.ADACoordinator@ucdenver.edu.

D.     RELATED POLICIES, PROCEDURES, FORMS, GUIDELINES, AND
       OTHER RESOURCES

       1. Related Administrative Policy Statements (APS) and Other Policies

              •   Campus Policy 7014: Student Immunization Requirements and
                  Compliance

       2. Forms

              •   CU Anschutz Student Medical Exemption Form
              •   CU Anschutz Student Religious Exemption Form
              •   CU Anschutz Non-Student Medical Exemption Form

       3. Other Resources (i.e., training, secondary contact information)

              •   CU Anschutz COVID-19 Resources
              •   EEOC What you Should Know About COVID-19 and the ADA, the
                  Rehabilitation Act, and other EEOC laws

  Notes

  1.          Dates of official enactment and amendments:

              September 1, 2021: Approved by the CU Anschutz Chancellor

  2.          History:

              August 23, 2021: This is a new policy. As part of the Anschutz Medical
              Campus’ ongoing response to the COVID-19 pandemic, the University of
              Colorado system decided to require that all faculty and staff be vaccinated
              against COVID-19 by September 1, 2021, and that all students be vaccinated
              against COVID-19 before the start of each respective School’s Fall Semester.
              Chancellor Elliman further decided that this Policy will apply to volunteers,
              visitors, and badged affiliates who come to the Anschutz Medical Campus.
              Religious and Medical Exemptions from the Policy are available.

  3.          Initial Policy Effective Date: September 1, 2021

  4.          Cross References/Appendix:

              •   Campus Policy 7014: Student Immunization Requirements and
                  Compliance

                                                   5
